          Case 2:20-cv-02675-PBT Document 6 Filed 08/21/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                                  DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,                            :           CIVIL ACTION
        Plaintiff,                               :
     v.                                          :
                                                 :
KENNETH EASON, et al.                            :
         Defendant.                              :           NO. 20-2675
                                             ORDER

               AND NOW, this 21​st​ day of August, 2020, upon consideration of Petition for a

Writ of Habeas Corpus, IT IS ORDERED that:

            1. The District Attorney of the County of Philadelphia shall file specific and detailed

answers within forty-five (45) days of the date of this order pursuant to Rule 5, 28 U.S.C. §

2254. As required by 18 U.S.C. § 3771(b)(2), the Commonwealth is Further Ordered to ensure

that in a federal habeas corpus proceeding arising out of a state conviction, any crime victims are

afforded their rights under the Crimes Victims Act, as amended December 1, 2009.

            2. Due to the Covid-19 pandemic and the difficulties receiving physical records

from the Prothonotary of Philadelphia, Respondents shall attach as Exhibits to their Response to

the Habeas Petition ALL RECORDS, INCLUDING transcripts of Notes of Testimony at

Arraignment, Trial, Sentencing, Suppression Hearings, Post-Conviction Hearings, Petitions,

Pleadings, Opinions and Briefs of State Court proceedings in the matter of ​Commonwealth v.

Major George Tillery​ CP-51-CR-030568-1984.

                                                 BY THE COURT:
                                                 /S LINDA K. CARACAPPA                   __
                                                  LINDA K. CARACAPPA
